
82 N.Y.2d 845 (1993)
In the Matter of the Conservatorship of Anna E. Steel, Deceased. John A. Steel, Appellant; Burton M. Fine, Respondent.
Court of Appeals of the State of New York.
Submitted October 12, 1993.
Decided November 23, 1993.
Motion, insofar as it seeks leave to appeal from the Appellate Division order entered February 4, 1993, dismissed as untimely (CPLR 5513 [b]); motion for leave to appeal otherwise dismissed upon the ground that the other Appellate Division orders sought to be appealed from do not finally determine the proceeding within the meaning of the Constitution. Motion for poor person relief dismissed as academic.
